                    IN THE UNITED STATES DISTRICT COURTS
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                                 5:06CR22-5-V



UNITED STATES OF AMERICA            )
                                    )
                                    )
            v.                      )                       ORDER
                                    )
                                    )
WAYNE DONTA O’NEIL                  )
____________________________________)


      THIS MATTER is before the Court on defense counsel’s “Motion to Place Defendant In

Substance Abuse Treatment Program” (document #262) filed September 29, 2006. After reviewing

the Motion, the undersigned conferred with United States Probation’s Pretrial Services Office and

was advised that the Defendant’s assault convictions, pending assault charges, and extensive

criminal record generally rendered him ineligible for the Jail Based Inpatient Treatment Program

(“JBIT”).   However, the Pretrial Services Office does recommend the Defendant for the

Mecklenburg County Jail’s in-jail drug treatment program.

       FOR THE FOREGOING REASON, the undersigned will DENY the Defendant’s Motion

that he be placed in the JBIT, but will RECOMMEND that the Defendant request, and that he be

allowed to participate in, the Mecklenburg County Jail’s drug treatment program.




       The Clerk is directed to send copies of this Order to defense counsel (Gary A. Cook); the




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United States Attorney’s Office; the United States Probation Office; the United States Marshal; and

to the Honorable Richard L. Vorhees.

       SO ORDERED.


                                                Signed: October 3, 2006




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